                              UNITED STATES DISTRICT COURT
                          FOR THE MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION

   UNITED STATES OF AMERICA                          )

   V.                                                ) No. 3:22-CR-00327
                                                       Judge Aleta A. Trauger
   CAROLINE DAVIS                                    )

                             PETITION TO ENTER A PLEA OF GUILTY

           I, Caroline Davis, respectfully represent to the Court as follows:

          (1) My true full name is Caroline Davis. I was born on August 29, 1998, in Atlanta,
  Georgia. I have a home school diploma and attended one semester of college at Pensacola Christian
  College.

           (2) My appointed lawyer is Heather G. Parker.

          (3) I have received a copy of the Superseding Information before being called upon to plead
  and have read and discussed it with my lawyer and believe and feel that I understand every
  accusation made against me in the Superseding Information.

         (4) I have had sufficient opportunity to discuss with my lawyer the facts and surrounding
  circumstances concerning the matters mentioned in the Superseding Information. My lawyer has
  counseled and advised with me as to the nature and cause of every accusation against me. We have
  thoroughly discussed the government's case against me and my potential defenses to the
  government's case. My lawyer has explained each element of the crime charged to me and what the
  government would offer to prove these elements beyond a reasonable doubt.

          (5) I understand that the statutory penalties for the offenses with which I am charged are as
  follows:

          Count One:       Violation of 18 U.S.C. §371
                           Incarceration: up to six months incarceration
                           Maximum Fine: $10,000
                           Supervised Release: Not authorized on misdemeanor
                           Special Assessment:      $10.00

          Count Two:       Violation of 18 U.S.C. § 248 (a)(1) and (b)(2)
                           Incarceration: up to six months of incarceration
                           Maximum Fine: $10,000
                           Supervised Release: Not authorized on misdemeanor
                           Special Assessment:      $10.00

          (6) I have been advised that I will be sentenced to a sentence sufficient but not greater than
  necessary to satisfy the goals of sentencing specified in 18 U.S.C. §3553(a). One consideration will
  be Guidelines established by the United States Sentencing Commission. I understand that these
  Guidelines are advisory, but that the Court must take account of the Guidelines together with other
  sentencing goals. My lawyer and I have discussed the calculation of the Guidelines in my case. My




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   lawyer has given me an estimate of the Guidelines range that may apply in my case. I realize that
   this is simply my lawyer's estimate. I understand that my advisory Guideline range will be
   calculated by the United States Probation Officer who prepares the presentence report in my case.
   This estimation is subject to challenge by either me or the government, unless prohibited by a plea
   agreement. The final Guideline calculation will be made by the Court. I further understand that I
   may be sentenced to a fine to be calculated through the Guidelines. No fine will be imposed if the
   Judge finds me unable to pay any fine. Considered in this fine may be the amount of financial loss
   to the victim or gain to me as well as the costs of any confinement or probation supervision. The
   Court may also order that restitution be made to any victim of the offense. I have a right to a review
   of my sentence by the United States Court of Appeals for the Sixth Circuit.

           (7)1 understand that, under 18 U.S.C. §3561(a), I am not eligible for a sentence of probation
  if I receive any sentence of imprisonment at the same time on this offense or any other offense, or
  am convicted of a Class A or Class B felony, or the offense is one for which probation is expressly
  prohibited. I have been informed that under the present federal sentencing system there is no parole.
  I will receive only 54 days good time credit per year and it will not vest until the end of each year. I
  further understand that if I am sentenced to a period of supervised release and I violate the terms of
  that supervised release, upon revocation I could be imprisoned again.

          (8) I understand that should this plea of guilty be accepted, (a) If I am presently on
  probation, parole, or supervised release, whether state or federal, the fact that I have been convicted
  may be used to revoke my probation, parole or supervised release regardless of what sentence I
  receive on this case; (b) If I am convicted of any crime in the future, whether state or federal, this
  conviction may be used to increase that sentence. If I have been convicted of certain drug offenses,
  my conviction may result in my losing entitlement to certain federal benefits pursuant to the
  Anti-Drug Abuse Act of 1988. I understand that this list may not include all of the adverse
  consequences of my conviction in this case.

           (9) I understand that I can plead "NOT GUILTY" to any or all offenses charged against me,
  and continue to plead "NOT GUILTY", and that if I choose to plead not guilty, the Constitution
  guarantees me (a) the right to a speedy and public trial by jury; (b) the right not to testify and no
  implication of guilt would arise by my failure to do so; (c) the right to be presumed innocent until
  such time, if ever, that the government proves my guilt beyond a reasonable doubt to the satisfaction
  of a court and jury; (d) the right to see and hear all the witnesses and to cross-examine any witness
  who may testify against me; (e) the right to use the power and process of the court to compel the
  production of any evidence, including the attendance of any witnesses, in my favor; and to testify in
  my own behalf if I choose to do so; (f) the right to have the assistance of counsel in my defense at all
  stages of the proceedings; (g) if I am convicted at such trial, I have the right to appeal with a lawyer
  to assist me and the appeal will not cost me any money if I am indigent. I understand that if the
  Court accepts my plea that there will be no jury trial and that I will be convicted of the count(s) to
  which I plead guilty just as if a jury found me guilty of the charge(s) following a trial. The Court
  may then impose sentence upon me, subject to the maximum punishments set forth in paragraph (5).

          (10) No officer or agent of any branch of government (federal, state or local), nor any other
  person, has guaranteed me what sentence I will receive. If there are any agreements between myself
  and my lawyers and the prosecution concerning my plea, they are fully set forth in paragraph (12)
  below. I understand that even with a plea agreement, no person can bind the Judge to give any
  particular sentence in my case. If the Judge rejects an agreement pursuant to Federal Rule of
  Criminal Procedure I l(c)(1)(A) or (C), I will be offered the opportunity to withdraw my guilty plea.
  If the Judge rejects a recommendation made pursuant to Rule II(c)(1)(B), I have no right to
  withdraw my plea. I understand that if the Judge decides to make a recommendation about where I
  should serve any incarceration, that the recommendation is not a promise or a guarantee, but only a



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   recommendation and is not binding on the Bureau of Prisons which will make the final decision
   (after I am sentenced) about where I will be incarcerated.

           (11) My lawyer has done all the investigation and research in this case that I have asked her
   to do, and has reviewed with me the discovery material provided by the Government. I am satisfied
   with her representation at this point.

           (12) Fully understanding my rights to plead "NOT GUILTY" and fully understanding the
   consequence of my plea of guilty, I wish to plead "GUILTY" and respectfully request the Court to
   accept my plea as follows:

              I agree to plead guilty to Counts One and Two of the Superseding Information.

           (13) I offer my plea of "GUILTY" freely and voluntarily and of my own accord; also, my
   lawyer has explained to me, and I feel and believe I understand this petition.

          (14) I am not under the influence of either drugs or alcohol.

           (15) I request the Court to enter now my plea of "GUILTY" as set forth in paragraph (12) of
  this petition, in reliance upon my statements made in this petition.

          (16) Recognizing that the Court may reserve acceptance of this plea pending the receipt of
  the pre-sentence report, I hereby agree that the pre-sentence report may be disclosed to the United
  States Attorney, my counsel and myself, prior to the sentencing hearing.



         Signed by me in open court under the penalties of perjury in the presence of my lawyer, this
  the 1741.dav of   ,,                 2023.



                                                   CAROL          AVIS, Defendant




                   ACKNOWLEDGEMENT OF GOVERNMENT ATTORNEY

          The maximum punishment and plea petition are accurately stated above.

                                                     A~Z A,~ vg7-
                                                   AMANDA KLOPF
                                                   Attorney for the Government




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                                        CERTIFICATE OF COUNSEL

              The undersigned, as attorney and counselor for Caroline Davis hereby certifies as follows:

              (1) I have read and fully explained to Caroline Davis all of the accusations against her in this
  case;

           (2) To the best of my knowledge and belief, each statement set forth in the foregoing petition
   is accurate and true;

          (3) In my opinion, the plea of "GUILTY" as offered by Caroline Davis, in paragraph (12) of
  the foregoing petition, is voluntarily and understandingly made, and we recommend to the Court that
  the plea of "GUILTY" be accepted and entered as requested in paragraph (12) of the foregoing
  petition.
                                                                                                    ~
           Signed by me in open court in the presence of Caroline Davis this I             day of Gt4        ,
  2023.




                                                     C.eIA    r G. Parke
                                                       Attorney for Caroline Davis




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                                               ORDER
  Good cause appearing therefore from the foregoing petition of the foregoing named defendant and
  the certificate of his counsel and for all proceedings heretofore had in this case, it is ORDERED that
  the petition be granted and the defendant's plea of "GUILTY" be accepted and entered as prayed in
  the petition and as recommended in the certificate of counsel.

  Done in open court this   I         day of V                     , 2023.



                                                   ALETA A. TRAUGER                    `~
                                                   UNITED STATES DISTRIC               GE




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